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                             IN THE UNITED STATES DISTRICT COURT
                        IN AND FOR THE SOUTHERN DISTRICT OF FLORIDA


  GEORGE STARKS,                                                  CASE NO.:

           Plaintiff,

  vs.

  PROFI FACILITIES MAINTENANCE, LLC,

        Defendant.
  ______________________________________/

                                                    COMPLAINT

           COMES NOW Plaintiff, GEORGE STARKS, by and through undersigned counsel, and

  hereby sues the Defendant, PROFI FACILITIES MAINTENANCE, LLC, and alleges the

  following:

           1.       Jurisdiction in this Court is proper as the claims are brought pursuant to the Fair

  Labor Standards Act, as amended (29 U.S.C. §201, et. seq. hereinafter called the “FLSA”) to

  recover unpaid back wages, an additional equal amount as liquidated damages, and reasonable

  attorney’s fees and costs, and pursuant to 29 § U.S.C. §215 (a)(3) for damages, reinstatement,

  emotional distress, reasonable attorney’s fees and costs..

           2.       Jurisdiction of this action is founded upon §216(b) of the FLSA [29 U.S.C.

  §216(b)].

           3.       At all times material hereto Plaintiff, GEORGE STARKS (hereinafter

  “STARKS”) was and is a resident of Palm Beach County, Florida.

           4.       At all times material hereto, Defendant, PROFI FACILITIES MAINTENANCE,

  LLC (hereinafter “PFM”), was a Florida limited liability company doing business in Palm Beach

  County, Florida.


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                                                  GARY A. ISAACS, P.A.
        712 U.S. Highway One, Suite 400, North Palm Beach, FL 33408• Telephone 561-655-9300• Facsimile 561-842-4104
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           5.     At all times material hereto, Defendant, PFM, employed employees, including

  Plaintiff, who regularly were and are engaged in commerce or the production of goods for

  commerce, with Defendant having annual gross volume of sales or business done of not less than

  $500,000.00 (exclusive of excise taxes at the retail level that are separately stated) within the

  meaning of §203 of the FLSA.

           6.     At all times material hereto, Defendant, PFM, acted directly or indirectly in the

  interest of an employer in relation to STARKS, and therefore Defendant has been an employer

  within the meaning of §3(d) of the FLSA (29 U.S.C. §203(d)).

           7.     Defendant employed SPARKS in Palm Beach County, Florida, from August 2015

  through February 28, 2017 as an hourly paid, non-exempt employee for janitorial duties in the

  aforesaid enterprise for work weeks longer than forty hours. Defendant willfully failed and/or

  showed reckless disregard in failing to compensate Plaintiff for his hours worked in excess of

  forty hours per week at a rate of at least one and one-half times the regular rate at which he was

  employed, contrary to the requirements of §7 of the FLSA (29 U.S.C. §207).

           8.     Defendant was aware that Plaintiff was working hours in excess of forty per

  week, but failed to fully compensate such overtime hours when it knew, or should have known,

  such was, and is due. Plaintiff was only paid straight time for the time he worked over forty (40)

  hours.

           9.     As a direct and proximate result of Defendant’s willful and deliberate

  underpayment of overtime wages, Plaintiff, SPARKS, has been damaged in the loss of overtime

  compensation.

           10.    Defendant’s above-described violations of the FLSA were willful and were not

  conducted in a good faith attempt to comply with the FLSA.



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                                                GARY A. ISAACS, P.A.
      712 U.S. Highway One, Suite 400, North Palm Beach, FL 33408• Telephone 561-655-9300• Facsimile 561-842-4104
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          11.     Upon information and belief, the records, to the extent any exist and are accurate,

  concerning the number of hours worked and amounts paid to Plaintiff are in the possession and

  custody of Defendant.

          12.     Defendant did not have a good faith basis for its decision to not pay an overtime

  rate of pay to Plaintiff for his overtime hours worked.

          13.     As a direct and proximate result of Defendant’s hereinabove described violations

  of FLSA, Plaintiff, SPARKS, has had to retain the services of Gary A. Isaacs, P.A. and has

  agreed to pay same a reasonable attorney’s fee.

          14.     As a result of Defendant’s lack of a good faith justification for its violation of the

  FLSA, Plaintiff is entitled to liquidated damages.

          15.     In addition, because Defendant’s violation of the FLSA was willful, a three-year

  statute of limitations is applicable to the claims at issue.

          WHEREFORE, Plaintiff, SPARKS, demands judgment against Defendant, PROFI

  FACILITIES MAINTENANCE, LLC, for compensatory damages, prejudgment interest, an

  additional equal amount as liquidated damages, together with costs and attorney’s fees pursuant

  to the FLSA, and such other further relief as this Court deems just and proper, including trial by

  jury.

          DATED this 24th day of April, 2017.

                                                      GARY A. ISAACS, P.A.
                                                      Attorney for Plaintiff, GEORGE SPARKS
                                                      712 U.S. Highway One, Suite 400
                                                      North Palm Beach, Florida 33408
                                                      Telephone: (561) 655-9300
                                                      Facsimile: (561) 842-4104
                                                      gaisaacs@bellsouth.net

                                                      /s/ Gary A. Isaacs, Esquire
                                                      Gary A. Isaacs, Esquire
                                                      Florida Bar No. 602663

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                                                GARY A. ISAACS, P.A.
      712 U.S. Highway One, Suite 400, North Palm Beach, FL 33408• Telephone 561-655-9300• Facsimile 561-842-4104
